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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


United States of America,                                File No. 20-cr-284 (ECT)

             Plaintiff,

v.                                                               ORDER

Jennifer Lynn Boutto,

           Defendant.
________________________________________________________________________

      Defendant Jennifer Lynn Boutto has filed a motion to extend her self-surrender date.

ECF No. 42. Boutto was sentenced on October 18, 2021. ECF No. 37. At sentencing,

Boutto asked for an extended amount of time to surrender and, without objection from the

Government, she was ordered to surrender to the United States Marshal on December 16.

ECF Nos. 39, 41. She now seeks to extend her surrender date to January 27, 2022. ECF

No. 42. The Government opposes the request. ECF No. 44. The reasons underlying

Boutto’s current motion are essentially the same as those that allowed her additional time

to surrender in the first place. Accordingly, IT IS ORDERED that Boutto’s Motion to

Extend Self Surrender Date [ECF No. 42] is DENIED.

Dated: December 13, 2021                        s/ Eric C. Tostrud
                                                Eric C. Tostrud
                                                United States District Court
